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AO 88B (Rev, 02/14) Subpoena toProckice Documents, Inronnation, orObjects orto Permit Inspection of Premises ina Civil Action


                                                                United States District Court
                                                                                              for the

                                                                                Northern District of California

          In re: DMCA Subpoena to Discord, Inc
                                               Plaintiff
                                                          V.                                            Civil Action No.




                                              Defendant
                                                                                                       8        80 1
                                   SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                                           OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

To:                               Discord, Inc., Attn: Ruth Chang, 444 De Haro Street, Suite 200, San Francisco, CA 94107

                                                                             (Name ofperson to whom this subpoena is directed)

      ^ Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
documents, electronically stored infonnation, or objects, and to pennit inspection, copying, testing, or sampling of the
material: See Attachment A.




 Place: KilpatrickTownsend &Stockton LLP, Attn: David                                                      Date and Time:
          Caplan, 9720 Wilshire Blvd PH, Beverly Hiils, CA90212                                                          August 16, 2018, 5:00pm


     • Inspection ofPremises: YOU ARE COMMANDED to pennitentry onto the designated premises, land, or
other property possessed or controlled by you at the time, date, and location set forth below, so that therequesting party
may inspect, measure, suivey, photograph, test, or sample the property or any designated object or operation on it.

 Place:                                                                                                    Date and Time:




       The following provisions of Fed. R. Civ. P, 45 are attached - Rule45(c), relating to the place of compliance;
Rule 45(d), relating to yourprotection as a person subject to a subpoena; and Rule 45(e) and (g), relating toyourduty to
respond to this subpoena and the potential consequences of not doing so.
Date:        8/2/18 8/14/2018
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                                                               Susan Y. Soong
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                                                                  Signature of Clerk or Deputy Clerk                             Attorney's signature
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The name, address, e-mail address, and telephone number of the attorney representing (name ofparty)
BBC Worldwide Limited t/a BBC Studios (Distribution)                    , who issues or requests this subpoena, are:
David Caplan, 9720 Wilshire Blvd PH. Beverly Hiils, CA 90212; dcaplan@kilpatricktownsend.com; 310-777-3722
                                                                Notice to the person who issues or requests this subpoena
If this subpoena commands the production of documents, electronically stored information, or tangible things or the
inspection of premises before trial, a notice and a copy of the subpoena must be served on each partyin this case before
it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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AO 88B (Rev. 02/14) Subpoena to Produce Documents, Infonnalion, or Objects or to Pennit Inspection of Premises in a Civil Action (Page 2)

Civil Action No.


                                                               PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

            I received this subpoena for (name ofifulMdual andtitle, ifany)
on (date)


            • I seived the subpoena by delivenng a copy to the named person as follows:


                                                                                           on (date)                                   ; or

            O I returned the subpoena unexecuted because:



            Unless the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also
            tendered to the witness the fees for one day's attendance, and the mileage allowed by law, in the amount of



My fees are $                                     for travel and $                              for services, for a total of $                0.00



            I declare under penalty of perjuiy that this infonnation is tme.


Date:
                                                                                                   Server's signature



                                                                                                Printed name and title




                                                                                                   Server's address


Additional infonnation regarding attempted service, etc.:
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AO 88B (Rev. 02/14) Subpoena lo Produce Documents, information, or Objects or to Pennit Inspection of Premises in a Civil Action(Page 3)

                              Federal Rule of Civil Procedure 45 (c), (d), (e), and (g) (Effective 12/1/13)
(c) Piacc of Compliance.                                                             (ii) disclosing an unretained expert's opinion or information that does
                                                                                not describe specific occuirences in dispute and results from the expert's
  (1) For a Trial, Hearing, or Deposition. A subpoena may cotnmand a            study that was not requested by a parly.
person to attend a trial, hearing, or deposition only as follows:                  (C) Specifying Conditions as an Alternative. In the circumstances
   (A) within 100 miles of where the person resides, is employed, or            described in Rule 45(d)(3)(B), the court may, instead of quashing or
regularly transacts business in person; or                                      modilying a subpoena, order appearance or production under specified
   (B) williin the state where the person resides, is employed, or regularly    conditions if the sciving party:
transacts business in person, if the person                                          (i) shows a substantial need for the testimony or material that cannot be
      (i) is a party or a party's oilicer; or                                   otheiwise met without undue hard-ship; and
      (ii) is cotnmanded to attend a trial and would not incur substantial           (ii) ensures that the subpoenaed pei'son will be reasonably compensated.
expense.
                                                                                (c) Duties in Responding to a Subpoena.
 (2) For Other Discovery. A subpoena may command:
  (A) production ofdocutncnts, electronically stored infoniiation,or             (I) Producing Documents or Electronically Stored Information. These
tangiblethings at a place within 100tniles of where the person resides,is       procedures apply to producing documents or electronically stored
employed, or regularly transacts business in person; and                        information:
  (B) inspection of premises at the premises to be inspected.                      (A) Documents. A person responding to a subpoena to produce documents
                                                                                must produce them as they are kept in the ordinary course ofbusiness or
(d) Protecting a Person Subject to a Subpoena; Enforcement.                     must organize and label them to coii e-spond to the categories in the demand,
                                                                                   (B) Form for Producing Electronically Stored Information Not Specifed.
 (]) Avoiding Undue Burden or Expense; Sanctions. A parly or attorney           If a subpoena does not specify a fonn for producing electronically stored
responsible for issuingand serving a subpoena must lake reasonablesteps         information, the person responding must produce it in a form or fonns in
to avoid imposing undue burden or expense on a person subject to the            whicli it is ordinarily maintained or in a reasonably usable form or forms.
subpoena. The cout1 for the district wiiae cotiiplianceis required must            (C) Electronically Stored Information Produced in Only One Form. Tlie
enforce this duly and impose an appropriate sanction—which may include          person responding need not produce the .same electronically stored
lost earningsand reasonableattorney's fees—on a party or attorney who           infonnation in more than one form.
fails to comply.                                                                   (D) Inaccessible Electronically Stored Information. The person
                                                                                responding need not provide discovei y of electronically stored information
 (2) Command to Produce Materials or Permit Inspection.                         fixtm sources that the person identifies as not reasonably accessible because
  (A) Appearance Not Required. A pei'son commandeil to produce                  ofundue burden or cost. On motion to compel discovei'y or for a protective
documents, electronically .storedinformation, or tangible things, or to         order, the pei'son responding must show that the information is not
pennit the inspection of premises, neednot appearin personat the placeof        reasonably accessible because ofundue burden or cost. If that showing is
p!-oduction or inspection unless also commanded to appear for a deposition,     made, the court may nonetheless order discovery from sucli sources if the
hearing, or trial.                                                              requesting party shows good cause, considering the limitations of Rule
   (B) Objections. A person commanded to produce documents or tangible          26(b)(2)(C). The court may specify conditions for the discovery.
things or to pei-mit inspectionmay serve on the party or attorney designated
in the subpoenaa writtenobjection to inspecting, copying,testing, or            (2) Claiming Privilege or Protection.
sampling any or all of the materials or to inspecting the premises—or to         (A) information Withheld. A person withholding subpoenaed information
producing electronically sioi-ed infojwation in the form or forms requested.    under a claim that it is privileged or subject lo protection as trial-preparation
The objection must be served beforethe earlier of the time specilied for        material must:
compliance or 14 days atler the .subpoena is served. If an objection is made,        (i) expressly make the claim; and
the following i-ules apply:                                                          (ii) de.scribe the nature of the withheld documents, comiminications, or
     (i) At any time, on notice lo the commanded person, the serving party      tangible things in a manner that, wilhoul revealing information itself
may move the court for the district where compliance is required for an         privileged or protected, will enable the parties to assess the claim.
order compelling production or inspection.                                        (B) Information Produced. If information pj'oduced in response to a
    (11) These acts may be required only a.s directed in the order, and the     subpoena is subject to a claim of privilege or ofprotection as
order mustprotect a person who is neilliera party nor a party's officer from    trial-preparation material, the peison making the claim may notify any party
significant expense resulting from compliance.                                  that received the infonnation of the claim and the basis for it. After being
                                                                                notified, a paity must promptly relurn, .sequester, or destroy tlie specified
 (3) Quashing or Modifying a Subpoena.                                          information and any copies it has; tnust not use or disclose the information
  (A) When Required. On timely motion, the court for (he di-slrict where        until the claim is resolved; must take reasonable steps to retrieve the
compliance is required mu.st quash or modify a subpoena that:                   information if the party disclosed it before being notified; and may promptly
     (i) fails to allow a reasonable time to comply;                            present the information under seal to the court for the district where
     (11) requires a person to comply beyond the geogiaphical limits            coinplianee is required for a dctennination of the claim. The pei'son who
specified in Rule 45(c);                                                        produced the information must preserve the information until the claim is
     (iii) requires disclosureofprivileged or other protected matter,if no      resolved.
exception or waiver applie.s;or
     (iv) aubjects a peison to undue burden.                                    (g) Contempt.
  (B) When Permitted. To protect a peison subject to or affected by a           The court for the district where compliance is required—and also, after a
subpoena,the court forthe district where compliance is required tnay, on        motion is transferred, the issuing court—may hold in contempt a person
motion,quash or modify the subpoena if it requires:                             who, having been served, fails without adequate excuse to obey the
     (i) disclosing a trade secret or other confidential i csearch,             subpoena or an order related to it.
development, or commercial information; or
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                                    ATTACHMENT A

              DOCUMENTS TO BE PRODUCED UNDER SUBPOENA

I.   All information that may identify the alleged infringer who posted infringing content
     located at the following Discord linlcs:
     https://discordapp.com/channeIs/221809357321535490/,
     https://media.discordapp.net/attachments/46084675807189403 8/460846 841471434752/s
     onic.jpg,
     https://cdn.discordapp.eom/attaclmients/441652227526885376/460860386560835584/un
     known.png, and
     https://cdn.discordapp.eom/attachments/441652227526885376/460860445809573888/un
     known.png, including, without limitation, any name, account name, address, telephone
     number, email address, birth date, profile photo, device infonnation (e.g., IP address,
     device type, name, operating system, MAC address or other identifiers),
     browser information, location information, infonnation from others (e.g., Facebook or
     Google+) and time posted.
